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                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

In re:

SARAH E. ALLEN,

                                 Debtor.

NANCY SILVER-HACKER,                                 Chapter 7
                                                     Bankruptcy No. 20-05391
PERSONAL ADMIN OF THE                                Honorable Judge Jack B. Schmetterer
ESTATE OF KIRK CLAWES,
DECEASED,                                            Adversary No. 20-00214
                                Plaintiff,

                    v.
 SARAH E. ALLEN,

                              Defendant.

                      ORDER GRANTING MOTION TO VACATE
                    ORDER DISMISSING ADVERSARY PROCEEDING
         AND GRANT ING MOT ION T O REOPEN ADVERSARY PROCEEDING
                                             [DKT. NO. 25]
                                         BACKGROUND
         Debtor-Defendant filed for Chapter 7 bankruptcy on February 27, 2020. On June 15,
2020, Plaintiff filed the present adversary. On June 19, 2020, the Clerk of the Court closed the
bankruptcy case. Meanwhile, in the adversary, on June 30, 2020, Defendant filed a motion to
dismiss under Rule 12(b)(4) and (b)(5) for insufficient process and insufficient service of
process. Then, Plaintiff obtained an alias summons on July 21, 2020, which was served
personally at the Defendant's abode on July 27, 2020 and mailed to the same address that same
day. Defendant's counsel received an electronic copy of that alias summons, and on August 11,
2020 the alias summons was also mailed to Defendant's attorney. On the same date, the Court set
a briefing schedule on Defendant's motion to dismiss.
         On September 22, 2020, the Court issued an order dismissing the adversary (the
"Dismissal Order") as service of the summons and complaint were not served until after the
bankruptcy case was closed, relying on Defendant's argument, raised for the first time in a reply
brief, that service could not be made to her through any means after June 19, 2020 because the
bankruptcy case has been closed. Dismissal was made without prejudice as "[n]o persuasive
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(Ban1a. N.D. Ill. 2006) ("Rule 7004(a) incorporates certain provisions of [Rule 4] for service of
process in adversary proceedings in bankruptcy cases.")
       Here, service was perfected under Rule 7004(a) when Plaintiff served Defendant with
abode service on July 27, 2020. No argument has been made that the abode service under Rule
4(e)(2)(B), made applicable through Rule 7004(a), was imperfect. Because there is no
requirement that the underlying ban1auptcy case be open for service to be made under Rule
7004(a), service on the Defendant was effective when such abode service was made. See Fed.
Rule. Ban1a. P. 7004(a). Because service was proper, the case was improperly dismissed.
Therefore, relief under Rule 60(b) is appropriate, given the aforementioned and the fact that
Plaintiffs substantive rights will be terminated if the Dismissal Order is not vacated.
                                         CONCLUSION
       For the foregoing reasons, Plaintiffs Motion to Vacate Order Dismissing Adversary
Proceeding is GRANTED. IT IS HEREBY ORDERED THAT:
    1. The Dismissal Order [Dkt. No. 22] is vacated.
   2. Defendant is to file an Answer to the complaint by December 22, 2020.
   3. Status is set for January 12, 2021 at 10:30 •·             ,,
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                                                       JackB. Sqhlintjhere:.V
                                                       United Stit�� Bankruptcy Judge

Dated this     day of December 2020




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